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                                                       129,932

                                                           164

                                                         8,296

                                                       103,884

                                                         6,723

                                                         2,609

                                                         2,902

                                                         1,433

                                                           570

                                                        32,098

                                                         3,957

                                                         3,398

                                                         3,438

                                                         1,530

                                                         2,676

                                                         7,322


Finally, though the parties have not yet agreed to                    inclusion as a custodian, Amazon has determined that
it has no emails (or Sharepoint files) for him. It has 27,303 other files in his custodial file. Please let us know if this
information affects Plaintiffs’ custodial trade offer.

Thanks,
Alex

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